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AO 450 (Rev. 01/09) Judgment in a Civil Action



                            UNITED STATES DISTRICT COURT
                                                           for the
                                                 Northern District of Indiana

JANE DOE,

                             Plaintiff

                   v.                                             Civil Action No. 3:17cv690

UNIVERSITY OF NOTRE DAME DU LAC,
termed 07/05/2018,
UNIVERSITY OF NOTRE DAME,

                             Defendants

                                        JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

     the plaintiff _______________________________________________________________________
recover from the defendant                                                          the amount of
dollars $               , which includes prejudgment interest at the rate of % plus post-judgment
interest at the rate of           % along with costs.

     the plaintiff recover nothing, the action is dismissed on the merits, and the defendant
recover costs from the plaintiff                          .

 X Other: Count I of the First Amended Complaint is DISMISSED. Counts II and III are REMANDED
to the St. Joseph County Circuit Court pursuant to 28 U.S.C. §1367(c)(1) and (3).

This action was (check one):

   tried to a jury with Judge                                                     presiding, and the jury has
rendered a verdict.

    tried by Judge                                                      without a jury and the above decision was
reached.

 X decided by Judge Philip P. Simon on a Motion to Dismiss by Defendant.

DATE: November 28, 2018                                          ROBERT N. TRGOVICH, CLERK OF COURT

                                                                  By: s/ L. Higgins-Conrad
                                                                      Signature of Deputy Clerk
